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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               ______________

                                     No. 21-1662
                                   ______________

   THE TRUSTEES OF THE GENERAL ASSEMBLY OF THE CHURCH OF THE
   LORD JESUS CHRIST OF THE APOSTOLIC FAITH, INC.; CHURCH OF THE
            LORD JESUS CHRIST OF THE APOSTOLIC FAITH

                                           v.

ANTHONEE PATTERSON; ROCHELLE BILAL, IN HER OFFICIAL CAPACITY AS
               SHERIFF OF PHILADELPHIA COUNTY

                             ANTHONEE PATTERSON,
                                         Appellant
                                ______________

                     Appeal from the United States District Court
                       for the Eastern District of Pennsylvania
                              (D.C. No. 2:2-21-cv-00634)
                     District Judge: Honorable Karen S. Marston
                                   ______________

                              Argued December 8, 2021
                                  ______________

             Before: SHWARTZ, PORTER, and FISHER, Circuit Judges.
                              ______________

                                     JUDGMENT
                                   ______________

      This cause came to be considered on the record of the United States District Court

for the Eastern District of Pennsylvania and argued on December 8, 2021.

On consideration whereof, it is now hereby ORDERED and ADJUDGED by this Court
that the judgment of the District Court entered on March 19, 2021, is hereby
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AFFIRMED. Costs shall be taxed against Appellant. All of the above in accordance
with the Opinion of this Court.


                                                              ATTEST:


                                                              s/ Patricia S. Dodszuweit
                                                              Clerk

Dated: December 21, 2021



                                  Certified as a true copy and issued in lieu
                                  of a formal mandate on 


                                 Teste:
                                 Clerk, U.S. Court of Appeals for the Third Circuit




                                          2
